Case 2:16-cv-14050-MAG-RSW ECF No. 371, PageID.42179 Filed 01/29/21 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                Plaintiff,                                      Case No. 16-14050
                                                                Hon. Mark A. Goldsmith
 vs.

 QUICKEN LOANS INC.,

             Defendant.
 _______________________________/

                                        ORDER
                             REGARDING SEALED DOCUMENTS

        On December 21, 2020, the Court issued an order informing the parties that the Court will

 unseal Dkts. 176-186, 188-288, 292-347, and 350-355 pursuant to the Order dated June 3, 2019

 (Dkt. 362), unless an objection setting forth good cause not to do so is filed (Dkt. 364). The parties

 have now filed objections (Dkts. 369, 370). Before ruling on these objections, the Court will

 provide non-parties an opportunity to seek leave to file briefs as amici curiae setting forth their

 views on the issue of unsealing.

        There is no statute or rule of civil procedure governing the filing of amicus briefs in district

 courts. See Freed v. Thomas, No. 17-13519, 2018 WL 3848155, at *2, *2 n.1 (E.D. Mich. Aug.

 9, 2018). In light of the absence of an applicable rule of civil procedure, courts within this district

 have assumed Federal Rule of Appellate Procedure 29 governs the filing of amicus briefs in district

 courts. See, e.g., id. at *2-3. This Court will follow suit.

        Any non-party seeking to present views on the unsealing issue must file a motion for leave

 to file an amicus brief and a proposed brief on or before February 19, 2021. The filing must

 comply with Fed. R. App. P. 29(a)(3) and (a)(4), except as follows: (i) the proposed brief should
Case 2:16-cv-14050-MAG-RSW ECF No. 371, PageID.42180 Filed 01/29/21 Page 2 of 2




 not comply Fed. R. App. P. 32; instead the proposed brief must comply with Local Rules 5.1(a)

 and contain a certificate to that effect; and (ii) the proposed brief should not indicate support for

 affirmance or reversal of a decision, as that is not applicable in the present context. The length of

 the proposed brief must not exceed ten pages, exclusive of attachments. Any opposition to the

 motion must be filed within 14 days after service of the motion; any reply is due seven days

 following service of any opposition. To the extent a party does not oppose the motion but wants

 to offer views on the proposed amicus brief, it must file a statement to that effect within 14 days

 following service of the motion. Thereafter, the Court will establish a timetable for further

 briefing.

        SO ORDERED.

 Dated: January 29, 2021                               s/Mark A. Goldsmith
        Detroit, Michigan                              MARK A. GOLDSMITH
                                                       United States District Judge




                                                  2
